          Case 21-30923 Document 178 Filed in TXSB on 04/20/21 Page 1 of 3




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                              )
In re:                                                        )   Chapter 11
                                                              )
GRIDDY ENERGY LLC,1                                           )   Case No. 21-30923 (MI)
                                                              )
                                    Debtor.                   )
                                                              )

        NOTICE OF FILING OF REVISED SCHEDULE 2 TO DECLARATION OF
    ROBIN SPIGEL IN SUPPORT OF DEBTOR’S APPLICATION FOR ENTRY OF AN
     ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF BAKER BOTTS
    L.L.P. AS COUNSEL TO THE DEBTOR EFFECTIVE AS OF THE PETITION DATE

        PLEASE TAKE NOTICE that, on April 6, 2021, the debtor and debtor in possession in
the above-captioned case (the “Debtor”), filed the Debtor’s Application for Entry of an Order
Authorizing Retention and Employment of Baker Botts L.L.P. as Counsel to the Debtor Effective
as of the Petition Date [Docket No. 134] (the “Application”). Attached as Exhibit B to the
Application is the Declaration of Robin Spigel in Support of Debtor’s Application for Entry of an
Order Authorizing Retention and Employment of Baker Botts L.L.P. as Counsel to the Debtor
Effective as of the Petition Date [Docket No. 134-2] (the “Spigel Declaration”). Attached as
Schedule 2 to the Spigel Declaration is a disclosure schedule.

      PLEASE TAKE FURTHER NOTICE that, attached hereto (a) as Exhibit 1 is a revised
Schedule 2 to the Spigel Declaration and (b) as Exhibit 2 is a redline of Schedule 2 reflecting
changes from the original Schedule 2 filed with the Spigel Declaration.




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     The last four digits of its federal tax identification number of the Debtor are 1396. The mailing address for the
     Debtor is PO Box 1288, Greens Farms, CT 06838.


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      Case 21-30923 Document 178 Filed in TXSB on 04/20/21 Page 2 of 3




Dated: April 20, 2021
       New York, New York
                                BAKER BOTTS L.L.P.

                                By: /s/ Robin Spigel
                                Robin Spigel (admitted pro hac vice)
                                Robin.Spigel@bakerbotts.com
                                Chris Newcomb (admitted pro hac vice)
                                Chris.Newcomb@bakerbotts.com
                                30 Rockefeller Plaza
                                New York, New York 10012-4498
                                Telephone: (212) 408-2500
                                Facsimile: (212) 259-2501

                                -and-

                                David R. Eastlake
                                Texas Bar No. 24074165
                                David.Eastlake@bakerbotts.com
                                910 Louisiana Street
                                Houston, Texas 77002-4995
                                Telephone: (713) 229-1234
                                Facsimile: (713) 229-1522

                                Proposed Counsel to the Debtor and Debtor in
                                Possession




                                        2
       Case 21-30923 Document 178 Filed in TXSB on 04/20/21 Page 3 of 3




                                    Certificate of Service

        I certify that on April 20, 2021, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                   /s/ Robin Spigel
                                                   Robin Spigel




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